                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                            )
                                                     )
                              Plaintiff,             )
                                                     )
               v.                                    )       Docket No. 2:18-cr-49
                                                     )
ANGELO PETER EFTHIMIATOS,                            )
                                                     )
                              Defendant.             )

              MOTION IN LIMINE TO EXCLUDE STATEMENTS
      OBTAINED IN VIOLATION OF MIRANDA AND REQUEST FOR HEARING

       Angelo Peter Efthimiatos, through his attorney, Craig S. Nolan, Esq., moves in limine to

exclude (i) the custodial statements he made to federal agents on April 10, 2018, without first

receiving Miranda warnings; and (ii) the statements made by Mr. Efthimiatos to federal agents

following his assertion of his right to counsel on the morning of April 10, 2018, on the grounds

that these statements were obtained in violation Mr. Efthimiatos’ Miranda rights. In support of

this Motion, Mr. Efthimiatos relies upon and incorporates the following memorandum.

                                           Memorandum

I.     Relevant Facts.

       A. Statements Prior to Miranda Warnings.

     Shortly after 12:15 AM on April 10, 2018, Drug Enforcement Administration (“DEA”)

investigators allegedly observed Mr. Efthimiatos exit a plane, bearing tail number N4563F, at the

Rutland Southern Vermont Regional Airport. Mr. Efthimiatos then began walking toward an

SUV within the secured area of the airport when the three investigators, SA Brandon Hope, SA

Kevin Kadish, and TFA John McGarghan, approached Mr. Efthimiatos and introduced

themselves as law enforcement. Following this prelude, the investigators questioned Mr.
Efthimiatos on an array of matters including his airman’s certificate, prior arrest history,

supervised release conditions, air travel, business associations, etc. Questioning continued until

Mr. Efthimiatos was overwhelmed, felt ill, and requested permission to sit. Investigators pressed

Mr. Efthimiatos to continue the questioning inside one of the government vehicles. Mr.

Efthimiatos followed the three investigators into the vehicle. TFA McGarghan sat in the driver’s

seat, SA Kadish sat in the front passenger seat, and Mr. Efthimiatos sat in the back seat adjacent

to SA Hope. Inside the vehicle, the agents continued to question Mr. Efthimiatos. This

interrogation was recorded at least in part by the investigators using a digital recording device.

At no point prior to or during the custodial interrogation of Mr. Efthimiatos while he was inside

the DEA vehicle for the first time was he informed of his Miranda rights by any of the

investigators.

       B. Statements in SA Hope’s Vehicle.

       At the insistence of SA Hope, the interrogation within the government vehicle concluded

so that the parties could retrieve Mr. Efthimiatos’ luggage from the plane. Investigators used this

opportunity to request Mr. Efthimiatos’ consent to a search of the plane. After the investigators

searched the plane (finding no contraband) Mr. Efthimiatos was formally arrested and placed in

TFA McGarghan’s vehicle at approximately 1:30 AM for transport to Chittenden County

Regional Correctional Facility. Finally, after all of this activity, Mr. Efthimiatos was read

Miranda rights in TFA McGarghan’s vehicle. Mr. Efthimiatos was then moved to SA Hope’s

vehicle at approximately 2:37 AM where another recorded custodial interrogation of Mr.

Efthimiatos transpired. For this second custodial interrogation, SA Hope, the primary questioner

from the first custodial interrogation, served as the sole interrogator. The salient dialogue from

that interrogation, for purposes of the Memorandum, are as follows:



                                                  2
     SA Hope: All right. You have the right to, to talk to a Lawyer for advice before I ask you
any questions, and to have a Lawyer with you during questioning.

      Mr. Efthimiatos: Okay.

      SA Hope: All right. Do you understand that?

      Mr. Efthimiatos: I do.

     SA Hope: Okay. If you cannot afford a Lawyer, one will be appointed for you, before a –
any questioning, if you wish.

      Mr. Efthimiatos: Okay.

      SA Hope: Do you understand?

      Mr. Efthimiatos: I do.

      SA Hope: Okay. Are you willing to answer any questions?

      Mr. Efthimiatos: I, I am willing to answer questions. But I do want an, an Attorney, also.

      SA Hope: I – I’m sorry. What do you –

      Mr. Efthimiatos: I do want an Attorney, also. But I am very willing to answer to
questions.

      SA Hope: So do you want an Attorney with you right now, before we start talking?

      Mr. Efthimiatos: Is that –

     SA Hope: Like, would you like to consult with an Attorney? I mean, we’re driving right
now, obviously. But –

      Mr. Efthimiatos: Right.

Ex. C at 2:12-25; 3:1-2.

II.    Discussion.

       A. Mr. Efthimiatos’ Custodial Statements on the Tarmac And In The First Vehicle
          Should Be Suppressed Because The Investigators’ Failed To Inform Him Of His
          Miranda Rights.

       In the seminal case of Miranda v. Arizona, 384 U.S. 436 (1966), the Supreme Court

established that “the prosecution may not use statements . . . stemming from custodial
                                                3
interrogation of the defendant unless it demonstrates the use of procedural safeguards effective to

secure the privilege against self-incrimination.” Id. at 444. “In practice, Miranda requires that

prior to the initiation of custodial questioning, law enforcement officers must fully apprise the

suspect of the government’s intention to use his statements to secure a conviction, and must

inform him of his rights to remain silent and to have counsel present . . . if he so desires.” United

States v. Simmonds, 641 F. App’x 99, 101 (2d Cir. 2016) (quoting Moran v. Burbine, 475 U.S.

412, 420, (1986) (fourth alteration in original) (internal quotations omitted) (citing Miranda, 384

U.S. at 468–70); see also Illinois v. Perkins, 496 U.S. 292, 296 (1990)). “The determination of

whether a person is in custody for Miranda purposes is an ‘objective inquiry’ made after

examining ‘all of the circumstances surrounding the interrogation.’” Id. (quoting J.D.B. v. North

Carolina, 564 U.S. 261 (2011) (quoting Stansbury v. California, 511 U.S. 318, 322 (1994)).

“Those circumstances include, inter alia:

                the interrogation’s duration; its location (e.g., at the suspect's home, in public, in a
        police station ...); whether the suspect volunteered for the interview; whether the officers
        used restraints; whether weapons were present and especially whether they were drawn;
        whether officers told the suspect he was free to leave or under suspicion ... ; and the
        nature of the questions asked.

Id. (quoting United States v. FNU LNU, 653 F.3d 144, 153 (2d Cir.2011). “We begin by asking

‘whether a reasonable person would have thought he was free to leave the police encounter at

issue . . . . if the answer is no, the ‘court must [then] ask whether, in addition to not feeling free

to leave, a reasonable person would have understood his freedom of action to have been curtailed

to a degree associated with formal arrest.” Id. at 101-02 (quoting United States v. Newton, 369

F.3d 659, 672 (2d Cir.2004). If the answer to this second question is “yes”, then the person is

deemed to have been held in “custody”. Id. at 102; Newton 369 F.3d at 672; Berkemer v.

McCarty, 468 U.S. 420, 440 (1984).



                                                   4
        In the instant case, during the early hours of the morning, at an otherwise vacant airport,

Mr. Efthimiatos was approached by three federal agents who informed Mr. Efthimiatos that they

were conducting a “ramp check,” which is an aviation term of art for surveillance by the Federal

Aviation Administration (“FAA”) of an airman for purposes of reviewing that pilot’s safety and

regulatory compliance. After a prolonged period of questioning on the airport’s tarmac, to such

an extent that Mr. Efthimiatos began to feel ill and needed to sit, the three investigators then

pressed Mr. Efthimiatos to continue the questioning in the one of the investigator’s vehicles. At

that point the four men huddled into the car, seating in such an arrangement where Mr.

Efthimiatos had one federal agent sitting to his side, and two sitting in front of him, and the

questioning continued. In this even more government-dominated environment the questioning

continued. During this interrogation the agents employed coercive tactics to elicit the answers

they were seeking, going so far as insinuating that Mr. Efthimiatos is a terrorist. Mr. Efthimiatos

was allowed to leave the car but this exit was nothing more than a pretense initiated by SA Hope

so that the investigators could gain access to and search the plane and Mr. Efthimiatos’ luggage.

The investigators had no intent of allowing Mr. Efthimiatos to leave that morning. Had Mr.

Efthimiatos begun to walk away from the agents on the tarmac or moved to exit the DEA

vehicle, he would have undoubtedly been prevented from departing. A reasonable person, faced

with a similar situation, would not have felt free to exit the government encounter, answering the

first question in the affirmative.

        The second inquiry is whether a reasonable person would have understood his freedom of

action to have been curtailed to a degree associated with formal arrest. Next to handcuffs, being

surrounded by three government law enforcement agents at night with no other persons present

and then being confined in the backseat of a government vehicle is probably the most



                                                  5
recognizable indicia of a formal arrest. Absent an arrest occurring in or around a government

building, the backseat of a government car is where persons are placed for transportation

following an arrest, and these environments are specifically designed with these purposes in

mind. The transition into the government vehicle was not a safety or precautionary measure by

the investigators. This move was a further display of the government’s control over Mr.

Efthimiatos and the curtailment of his freedoms.

       Taken as a whole, Mr. Efthimiatos was in Miranda custody when he was interrogated by

SA Hope, SA Kadish, and TFA McGarghan. Because none of these agents advised Mr.

Efthimiatos of his Miranda rights, and because Mr. Efthimiatos did not waive those rights, the

statements made during this interrogation must be suppressed.

       B. Mr. Efthimiatos’ Custodial Statements While In SA Hope’s Vehicle Should Be
          Suppressed Because The Investigators’ Failed To Honor Defendant’s Request
          For Counsel.

       In Edwards v. Arizona, 451 U.S. 477 (1981), the Supreme Court emphasized that “the

assertion of the right to counsel [is] a significant event and that once exercised by the accused,

‘the interrogation must cease until an attorney is present.’” Edwards 451 U.S. at 485 (quoting

Miranda 384 U.S. at 474); see also Wood v. Ercole, 644 F.3d 83, 90 (2d Cir. 2011) (“Binding

precedent is clear: once a suspect requests counsel, all interrogation must stop until an attorney is

provided or the suspects reinitiates conversation.”). To cut off questioning after being advised of

one’s rights, “a ‘suspect must unambiguously request counsel,’” which requires the suspect to

‘articulate his desire to have counsel present sufficiently clearly that a reasonable police officer

in the circumstances would understand the statement to be a request for an attorney.’” United

States v. Hercules, No. 5:13-CR-54-4, 2014 WL 1598015, at *9 (D. Vt. Apr. 17, 2014) (quoting

Davis v. United States, 512 U.S. 452, 459 (1994)). “Invocation of the Miranda right to counsel



                                                  6
‘requires, at a minimum, some statement that can reasonably be construed to be an expression of

a desire for the assistance of an attorney.” Davis 512 U.S. at 459 (quoting McNeil v. Wisconsin,

501 U.S. 171, 178, (1991)); see also Diaz v. Senkowski, 76 F.3d 61, 64-65 (2d Cir. 1996). While

there is no explicit rule mandating that the government ask clarifying questions, it understood to

be “good police practice for the interviewing officers to clarify whether or not a defendant

actually want[ed] an attorney” if presented with an ambiguous invocation. Hercules, No. 5:13-

CR-54-4, 2014 WL 1598015, at *10 (quoting Davis, 512 U.S. at 462).

        Here, Mr. Efthimiatos unequivocally requested to speak with an attorney. He twice stated

“I do want an attorney.” Under the guise of clarifying—which was unnecessary given the clarity

of the invocations by Mr. Efthimiatos—SA Hope asked Mr. Efthimiatos, “Like, would you like

to consult with an attorney? I mean, we’re driving right now, obviously. But --.” Mr.

Efthimiatos responded, “Right.”1 Mr. Efthimiatos did not say “perhaps” or “maybe.” He twice

said “I do want an attorney,” and then confirmed this decision without vacillation by using the

simple assertion of “right. See Ercole, 644 F.3d at 91 (“[W]e refuse to require criminal

defendants to ‘speak with the discrimination of an Oxford don,’ in order to invoke their right to

counsel.”) (citing Davis, 512 U.S. at 476). This was not a wavering question such as the

statement at issue in Diaz, “Do you think I need a lawyer?” Nor was this even a statement to the

effect of “I think I should get a lawyer,” which the Second Circuit in Ercole confirmed as an

invocation of the Miranda right to counsel. Mr. Efthimiatos repeatedly stated, “I do want an

attorney,” followed by a concise affirmation of his invocation of his Miranda right to have

counsel present during the custodial interrogation.



1
  The informal use of the expression “right,” such as used here by Mr. Efthimiatos in response to SA Hope’s
question, is generally understood to mean “correct,” “true,” or “one’s agreement with a prior statement,” that prior
statement being, in effect, “would you like to consult with an attorney?”

                                                         7
III.   Conclusion.

       For the foregoing reasons, Mr. Efthimiatos respectfully requests that the Court exclude at

trial evidence of his statements to agents on April 10, 2018.


       Dated at Burlington, Vermont, this 21st day of November, 2018.

                                              ANGELO PETER EFTHIMIATOS


                                      By:     /s/ Craig S. Nolan
                                              Craig S. Nolan, Esq.
                                              SHEEHEY FURLONG & BEHM P.C.
                                              30 Main Street, 6th Floor
                                              P.O. Box 66
                                              Burlington, VT 05402-0066
                                              (802) 864-9891
                                              cnolan@sheeheyvt.com




                                                 8
                               CERTIFICATE OF SERVICE

       I, Craig S. Nolan, counsel for Angelo Peter Efthimiatos, do hereby certify that on

November 21, 2018, I electronically filed with the Clerk of Court the following document:

             MOTION IN LIMINE TO EXCLUDE STATEMENTS
     OBTAINED IN VIOLATION OF MIRANDA AND REQUEST FOR HEARING

using the CM/ECF system. The CM/ECF system will provide service of such filing via Notice

of Electronic Filing (NEF) to the following NEF parties:

       AUSA Eugenia A. Cowles, Esq.
       AUSA Nicole P. Cate, Esq.
       U.S. Attorney’s Office
       11 Elmwood Avenue
       P.O. Box 570
       Burlington, VT 05403
       eugenia.cowles@usdoj.gov
       nicole.cate@usdoj.gov

       Dated at Burlington, Vermont this 21st day of November, 2018.



                                     By:    /s/ Craig S. Nolan
                                            Craig S. Nolan, Esq.
                                            SHEEHEY FURLONG & BEHM P.C.
                                            30 Main Street, 6th Floor
                                            P.O. Box 66
                                            Burlington, VT 05402-0066
                                            (802) 864-9891
                                            cnolan@sheeheyvt.com




                                               9
